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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION



UNITED STATES OF AMERICA,

             Plaintiff,                             Criminal No. 15-cr-20457
                                                    Hon. Matthew F. Leitman
v.

D-1   DWAYNE DUPREE,
D-3   SHAWN PEARSON.

           Defendants.
___________________________________________________________________/
         ORDER GRANTING MOTION PERMITTING FIREARMS
                IN THE COURTHOUSE AS EXHIBITS

      Upon motion of the government, and for the reasons stated therein, firearms

may be brought into the building by Task Force Officer Robert Harris, of the

Federal Bureau of Investigation (FBI) or by a fellow agent or police officer assisting

in the above case.

      Upon being presented with this order, the court security officers shall permit

these firearms into the courthouse. The firearms shall be handled consistent with 95-

AO-079. A court security officer shall escort the agent and the firearms to the

Marshals Service office where the firearms will be inspected and secured by

Supervisory Deputy United States Marshals. Once the firearms to the deemed

safe, the court security officer and the agent will transport the firearms to the
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courtroom. The case agent is responsible for the security of the firearms - for the

duration of the trial – shall coordinate with the Marshals Service for transportation of

the firearms to and from the appropriate courtroom. The firearms may be stored

overnight in the Marshals Service vault, and after the trial is completed they shall be

removed from the courthouse.

      IT IS SO ORDERED.

                                        /s/Matthew F. Leitman
                                        MATTHEW F. LEITMAN
                                        UNITED STATES DISTRICT JUDGE

Dated: February 7, 2017


I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on February 7, 2017, by electronic means and/or ordinary
mail.

                                        s/Holly A. Monda
                                        Case Manager
                                        (313) 234-5113
